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                                 RYAN R. GORDON (SBN 278414)
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                            9
                                 (pro hac vice application to be filed)
                            10
                                 Attorneys for Plaintiffs
                            11
ADVANCING LAW FOR ANIMALS




                                                             UNITED STATES DISTRICT COURT
                            12
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13                                   SACRAMENTO DIVISION
                            14

                            15   E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
                                 guardian, JESSICA LONG; JESSICA LONG, an
                            16   individual,                                   DECLARATION OF RYAN GORDON IN
                                                 Plaintiffs,                   SUPPORT OF MOTION TO
                            17            v.                                   MODIFY THE COURT ORDER RE
                            18   LIEUTENANT JERRY FERNANDEZ, in his            MINOR’S COMPROMISE (ECF No. 113)
                                 individual capacity; DETECTIVE JACOB
                            19   DUNCAN, in his individual capacity;           Date: Tuesday, March 11, 2025
                                 DETECTIVE JEREMY ASHBEE, in his               Time: 1:30 pm
                            20   individual capacity; SHASTA DISTRICT FAIR Courtroom: 4, 15th Floor
                                 AND EVENT CENTER, a district agricultural
                            21
                                 association; COUNTY OF SHASTA; SHASTA Trial Date: TBD
                            22   COUNTY SHERIFF’S DEPARTMENT;
                                 MELANIE SILVA, in her individual and official Action Filed: August 31, 2022
                            23   capacity; BJ MACFARLANE, in his individual
                                 and official capacity; KATHIE MUSE, in her
                            24   individual and official capacity, and DOES 1
                                 through 10,
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                                         DECLARATION OF RYAN GORDON IN SUPPORT OF MOTION TO MODIFY COURT ORDER
                                 Case 2:22-cv-01527-DAD-AC             Document 142-1       Filed 02/06/25      Page 2 of 2



                            1                                 DECLARATION OF RYAN R. GORDON

                            2    I, Ryan R. Gordon, declare as follows:

                            3            1.      I am over the age of eighteen. I have personal knowledge of the facts set forth in this

                            4    declaration and if called as a witness could and would competently testify thereto. I am an attorney

                            5    licensed to practice law in the State of California, as well as the U.S. District Courts for the Eastern

                            6    and Central Districts of California. I submit this declaration in support Plaintiff E.L.’s Motion to

                            7    Modify the Court Order Re Minor’s Compromise (Ecf No. 113)

                            8            2.      I am attorney of record for Plaintiff Jessica Long (“Mrs. Long”) and her minor

                            9    daughter, Plaintiff E.L. (collectively, “Plaintiffs”).

                            10           3.      This motion concerns the settlement Plaintiffs entered into with Defendants the County

                            11   of Shasta, the Shasta County Sheriff’s Department, Lieutenant Fernandez, Detective Duncan, and
ADVANCING LAW FOR ANIMALS




                            12   Detective Ashbee (collectively, the “County Defendants”). Plaintiffs have not settled with the

                            13   remaining Defendants in this case.

                            14           4.      Because the instant motion seeks modification of the minor’s compromise between

                            15   Plaintiffs and the County Defendants, on or about January 31, 2024, I met and conferred with Damian

                            16   Northcutt, counsel for the County Defendants. He represented to me that he has no objection to the

                            17   orders sought by this motion.

                            18           5.      The defendants remaining in this case are unaffected by this motion.

                            19
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                            21           I declare under penalty of perjury under the laws of the United States of America that the

                            22   foregoing is true and correct. Executed this 6th day of February, 2025, at Dana Point, California.

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                            25                                                             Ryan Gordon
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                                                                           1
                                         DECLARATION OF RYAN GORDON IN SUPPORT OF MOTION TO MODIFY COURT ORDER
